Case 2:23-cv-01932-BAT   Document 91-1   Filed 03/07/25   Page 1 of 18




          Exhibit A
 Case 2:23-cv-01932-BAT   Document 91-1      Filed 03/07/25   Page 2 of 18


                UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF WASHINGTON
                         AT SEATTLE




CHRISTOPHER J. HADNAGY, an individual; and SOCIAL-ENGINEER, LLC, a
                Pennsylvania limited liability company,
                               Plaintiffs,


                                   v.


JEFF MOSS, an individual; DEF CON COMMUNICATIONS, INC., a Washington
      corporation; and DOES 1-10; and ROE ENTITIES 1-10, inclusive,
                              Defendants.

                      Case No.: 2:23-cv-01932-BAT




                          Expert Report of
                    Benjamin P. Thomas, CPA, CFE
                         September 11, 2024




          ALVAREZ & MARSAL VALUATION SERVICES, LLC
                   1111 Third Avenue, Suite 2450
                        Seattle, WA 98101




                           CONFIDENTIAL
Case 2:23-cv-01932-BAT                         Document 91-1                    Filed 03/07/25                Page 3 of 18


                                            TABLE OF CONTENTS




 Qualifications ....................................................................................................        3
 Assignment .......................................................................................................         3
 Materials Reviewed ..........................................................................................              4
 Summary of Opinions .......................................................................................                4
 Background .......................................................................................................         4
 A&M’s Economic Damages Analysis ..............................................................                             5
 Conclusion ........................................................................................................        9
 Fees ...................................................................................................................   9
 Signature ...........................................................................................................      9


 Attachments:
 Exhibit 1 – Thomas Curriculum Vitae
 Exhibit 2 – Documents Reviewed and Considered
 Schedules




                                         CONFIDENTIAL – Page 2 of 9
         Case 2:23-cv-01932-BAT             Document 91-1           Filed 03/07/25       Page 4 of 18


                                             QUALIFICATIONS

1.      I, Benjamin P. Thomas, am a Senior Director at Alvarez & Marsal Valuation Services, LLC.

        I specialize in economic damages calculations and business valuations for a variety of

        reasons including insurance claims, litigation, and non-litigation matters. I have been

        involved in hundreds of economic damages assignments, including engagements on behalf

        of insurance carriers as well as engagements on behalf of insured parties that have included

        business interruption claims, extra expenses, financial fraud, financial condition analysis,

        contract disputes, lost profits calculations, asset tracing, and other economic damages and

        forensic accounting projects.

2.      I am a Certified Public Accountant (“CPA”) under the auspices of the American Institute of

        Certified Public Accountants and Washington Society of Certified Public Accountants. I am

        also a Certified Fraud Examiner (“CFE”) under the Association of Certified Fraud Examiners

        (“ACFE”). A Curriculum Vitae, along with a testimony list and a list of my presentations,

        is attached as Exhibit 1.


                                                ASSIGNMENT

3.      At the request of counsel to Christopher Hadnagy and Social-Engineer, LLC (“Social-

        Engineer”, the “Company”, or the “Plaintiffs”), I have calculated economic damages

        incurred, or that will be incurred, by the Plaintiffs since February 9, 2022, the date that the

        “Transparency Report” was released by the Defendants. 1 It is claimed that the release of the

        Transparency Report and the subsequent update on January 13, 2023 (“Update”), and other

        statements by the Defendants and/or its agents, caused irreversible damage to the Plaintiffs’

        reputation and goodwill resulting in economic damages.




1
    Defendants include Jeff Moss and Def Con Communications, Inc. (“Def Con” or the “Defendants”).

                                        CONFIDENTIAL – Page 3 of 9
     Case 2:23-cv-01932-BAT           Document 91-1         Filed 03/07/25      Page 5 of 18


4.   My opinions are based on procedures and analyses that are utilized and relied upon regularly

     by professionals in the forensic accounting, business valuation and economic damages

     disciplines. The opinions in this report assume that liability will be found against the

     Defendants. I do not hold, and will not be expressing, an opinion regarding the allegations

     in this case. Based on this assumption, I have calculated certain economic damages,

     including lost income, extra expenses, and potential lost business value, as set forth in this

     report.

5.   I reserve the right to supplement my opinions should additional relevant information be

     provided.


                                  MATERIALS REVIEWED

6.   When used hereinafter, “we” and/or “our” means me and/or persons working under my

     supervision and control. A list of documents I reviewed is shown in Exhibit 2, attached.


                                  SUMMARY OF OPINIONS

7.   Based on the information provided as of the date of this report, it is my opinion that Plaintiffs

     have incurred, or will incur, economic damages of $2,270,186 due to the actions of the

     Defendants, such as the release of the Transparency Report on February 9, 2022 and

     subsequent Update released on January 13, 2023. Economic damages are comprised of

     $578,186 in past lost income, which is inclusive of extra expenses, and $1,692,000 in lost

     business value.


                                        BACKGROUND

8.   Mr. Hadnagy is the owner of Social-Engineer, an information security company.

9.   Mr. Moss is the owner of Def Con. Def Con is an annual hacker convention which began in

     1993, typically in August, in Las Vegas, Nevada.


                                  CONFIDENTIAL – Page 4 of 9
      Case 2:23-cv-01932-BAT           Document 91-1        Filed 03/07/25      Page 6 of 18


10.   Mr. Hadnagy and Social-Engineer have been regular attendees and participants of Def Con.

      The Plaintiffs have hosted a “village” (specifically, the “SEVillage”), developed games, and

      presented at Def Con since at least 2010.

11.   On or about February 9, 2022, the Defendants placed a lifetime ban on Plaintiffs from Def

      Con, which was released via the Transparency Report. There was an Update on or about

      January 13, 2023 to the Transparency Report, which further damaged Plaintiffs.

12.   It is alleged that Plaintiffs have suffered economic damages in the form of lost income, extra

      expenses related to public relations and legal expenses, and lost business value due to the

      actions of the Defendants.


                        A&M’s ECONOMIC DAMAGES ANALYSIS

13.   In order to assess the economic damages sustained by Mr. Hadnagy and Social-Engineer due

      to the Transparency Report and Update, I reviewed and analyzed Mr. Hadnagy’s personal

      tax returns and the Company’s historical operations and assessed its future potential

      operations. I measured the past lost income sustained by Mr. Hadnagy for 2022 and 2023

      and future lost income in the form of potential diminution in value. Inclusive in the past lost

      income, I measured the increased operating costs related to public relations and professional

      fees in 2022 and 2023.

Financial Statement Analysis
14.   Often, an important step in estimating economic damages is an analysis of the individuals

      and/or entity’s historical financial performance. A historical analysis can provide insight

      into trends that can be utilized to assess potential damages due to specific events such as the

      release of the Transparency Report and Update. Financial information for Mr. Hadnagy was

      obtained from personal tax returns from 2017 through 2022 as well as Social-Engineer’s




                                   CONFIDENTIAL – Page 5 of 9
      Case 2:23-cv-01932-BAT                Document 91-1           Filed 03/07/25        Page 7 of 18


      internal historical income statements for the years ended December 31, 2018 through

      December 31, 2023.

15.   As shown in Schedule 1, income from Social-Engineer and the related SEVillage LLC

      totaled               in 2017,               in 2018,                in 2019,               in 2020, and

                  in 2021, the year prior to the release of the Transparency Report. After the release

      of the Transparency Report, a Hadnagy income loss of                         related to Social-Engineer

      and SEVillage LLC.

16.   As shown in Schedule 2, Social-Engineer’s revenue grew from                               in 2018 to

                in 2021 and totaled                   in 2022, before decreasing to                      in 2023.

      Although revenue remained flat in 2022 at                           , the profitability of the business

      decreased, resulting in an operating loss of                in 2022 compared to an operating income

      of             in 2021. The Company incurred an operating loss of                       in 2023.

17.   The Plaintiffs’ assert that statements by the Defendants and/or their agents, including the

      release of the Transparency Report and the Update are the cause of the negative financial

      performance in 2022 and 2023 and beyond. The Plaintiffs have cited specific contracts that

      ended in 2022 and 2023 2 that have negatively impacted revenue due to the Transparency

      Report and the Update.

Lost Income
18.   As previously stated, I was asked to evaluate the economic damages that have been, or will

      be, incurred, by Mr. Hadnagy and Social-Engineer as a result of the Defendants’ actions,

      including the release of the Transparency Report on February 9, 2022 and the Update on

      January 13, 2023. Economic damages can be calculated by determining the pre-incident

      income capacity, “but for” income, and then subtracting any actual and/or expected future


2
 Plaintiffs’ Responses to Defendant Def Con Communications, Inc.’s First Set of Discovery and Plaintiffs’
Amended Responses to Defendant Def Con Communications, Inc.’s First Set of Discovery.

                                       CONFIDENTIAL – Page 6 of 9
      Case 2:23-cv-01932-BAT            Document 91-1        Filed 03/07/25       Page 8 of 18


      income. Total lost income should be calculated over an appropriate damage period and

      reduced to present value, where applicable.

19.   Mr. Hadnagy’s income totaled                  in 2020 and                 in 2021, prior to the

      Transparency Report and the Update. I have assumed that Mr. Hadnagy’s “but for” income

      was approximately             on a go forward basis.

20.   As shown in the table below, lost income has been calculated for 2022 and 2023 and totaled

      $578,186. When financial information for 2024 is made available, I anticipate updating the

      lost income analysis.


                                        But For        Less:             Lost
                         Year
                                        Income      Actual Loss        Income
                         2022       $               $              $
                         2023       $               $              $
                         Total                                     $    578,186


21.   Included in the foregoing lost income amount is             in professional fees and         in

      public relations costs.

Lost Business Value
22.   Given the financial losses incurred by Mr. Hadnagy and Social-Engineer in 2022 and 2023,

      potential future economic damages can be estimated by a loss in business value. The

      potential loss of business value can be estimated by valuing Social-Engineer prior to the

      Transparency Report on February 9, 2022 and/or the Update on January 13, 2023.

23.   In general, there are three approaches available when valuing a closely held business interest:

      the cost approach, the income approach, and the market approach. While all three have been

      considered, I selected the market approach, specifically the guideline transaction method.

24.   The guideline transaction method involves determining valuation multiples from sales of

      companies with financial and operating characteristics similar to the subject company and

      applying the valuation multiples derived from those transactions to the subject company. In

                                  CONFIDENTIAL – Page 7 of 9
Case 2:23-cv-01932-BAT   Document 91-1   Filed 03/07/25   Page 9 of 18
      Case 2:23-cv-01932-BAT           Document 91-1        Filed 03/07/25       Page 10 of 18


                                          CONCLUSION

28.   Based on the information provided as of the date of this report, it is my opinion that Plaintiffs

      have incurred, or will incur, economic damages of $2,270,186 due to the actions of the

      Defendants, such as the release of the Transparency Report on February 9, 2022 and

      subsequent Update released on January 13, 2023. Economic damages are comprised of

      $578,186 in past lost income, which is inclusive of extra expenses, and $1,692,000 in lost

      business value.


                                                FEES

29.   Alvarez & Marsal Valuation Services, LLC (“A&M Valuation”) is compensated for my time

      on this matter at a rate of $525 per hour. In addition to my own time, I directed other A&M

      Valuation professionals who performed supporting work and analyses in connection with my

      preparation of this report at hourly rates ranging from $225 to $475.


                                           SIGNATURE

30.   I completed this report on September 11, 2024.



      Benjamin P. Thomas, CPA, CFE
      Senior Director




                                   CONFIDENTIAL – Page 9 of 9
     Case 2:23-cv-01932-BAT          Document 91-1        Filed 03/07/25     Page 11 of 18

                                                                                      EXHIBIT 1


CURRICULUM VITAE                           BENJAMIN P. THOMAS, CPA, CFE

PROFESSIONAL EXPERIENCE
Alvarez & Marsal Valuation Services, LLC – Senior Director
Benjamin P. Thomas is a Senior Director with Alvarez & Marsal Valuation Services, LLC in
Seattle, Washington. As a forensic accountant and CPA, he specializes in determining and
analyzing factual matters by examining accounting, operating and financial records, and
interpreting and communicating these financial facts along with calculations and
recommendations. His primary areas of concentration are in connection with economic damage
quantifications and business valuations in insurance and litigation matters.

With more than fifteen years of accounting experience, Mr. Thomas has been involved in
engagements that include business interruption, extra expense, inventory, physical damage, loss
of rent, fraud, financial condition, embezzlement, product liability, recall, contamination, lost
profit, personal injury, wrongful death, breach of contract, arbitration, and catastrophe services.
Mr. Thomas has been involved in complex business valuations in various industries that include
manufacturing, finance, construction, technology, investment, retail, hospitality, publishing,
agriculture, marketing, restaurant, entertainment, information technology, insurance, accounting,
and transportation, among many others.

With a broad base of experience, Mr. Thomas is able to support clients in complex business
disputes, business valuations, and the analysis of economic losses.

Matson, Driscoll & Damico – Senior Accountant
Prior to joining Alvarez & Marsal Valuation Services, Mr. Thomas spent two separate stints
spanning over four years with Matson, Driscoll & Damico, where he was most recently a Senior
Accountant and held a leadership role in developing and managing the Seattle branch.

Peterson Sullivan PLLC – Associate Accountant
Prior to re-joining Matson, Driscoll & Damico, Mr. Thomas was in public accounting for a large
regional tax and audit firm, Peterson Sullivan PLLC.

EDUCATION & PROFESSIONAL QUALIFICATIONS
Mr. Thomas holds a Bachelor’s in Accounting from Seattle Pacific University. Mr. Thomas is a
Certified Public Accountant (CPA) under the auspices of the American Institute of Certified
Public Accountants and the Washington Society of Certified Public Accountants. He is a
Certified Fraud Examiner (CFE) under the Association of Certified Fraud Examiners (ACFE).




                                           Page 1 of 5
       Case 2:23-cv-01932-BAT        Document 91-1       Filed 03/07/25      Page 12 of 18

                                                                                   EXHIBIT 1


CURRICULUM VITAE                          BENJAMIN P. THOMAS, CPA, CFE

COURT/ ARBITRATION/ DEPOSITION TESTIMONY AND MEDIATION EXPERIENCE

5/16    Sigue Corporation v. Hartford Casualty Insurance Company; Mediation

8/16    In re: the Marriage of Dr. Eric Holland and Dimitria Holland; Arbitration Testimony

3/17    In re: the Marriage of Christopher Saitta and Ceona Saitta; Mediation

5/17    Smeraldo Restaurant, Inc. dba Il Terrazzo Carmine v. Hudson Pacific Properties, Inc.;
        Deposition

11/17 Apparel Web, LLC and Ofer Kahana v. Sentinel Insurance Company, Limited, et al.;
      Mediation

1/18    In re: the Marriage of Christina M. Hensrude and Scott T. Hensrude; Deposition

2/18    In re: the Marriage of Christina M. Hensrude and Scott T. Hensrude; Court Testimony

7/18    In re: the Marriage of Ray Neyens and Kristina Neyens; Court Testimony

7/18    Lioness Holdings, LLC dba Tan Republic v. Sentinel Insurance; Court Testimony

9/18    Melissa Trainer v. USAA Casualty Insurance Company; Deposition

10/18 In re: the Marriage of Kenneth A. Schneider and Amannda Elaine Schneider; Arbitration
      Testimony

4/19    In re: the Marriage of Alex W. Cohen and Dana F. Kovalchick; Deposition

6/19    In re: the Marriage of Shane Goodpaster and Tina Goodpaster; Trial

11/19 Mark Caplin and CE Group, LLC v. Cultivar Farms, LLC; Arbitration Testimony

1/20    Rosanna Keena v. Raley’s dba Nob Hill Foods; Deposition

2/20    Donald Benton, Susan Rice, and Christopher Clifford v. Clark County; Deposition

3/20    OrionHealth Care USA, Inc. v. Josh Cobbley and K2 Capital, LLC; Deposition

1/21    In re: the Marriage of Kevin Chadwick and Anna Marie Chadwick; Mediation

4/21    Votiv, Inc. v. Bay Vista Owner LLC, Bay Vista Building Association, Bay Vista
        Building, Vista Residential Tower Association, The CWD Group, Inc., and Tatley-
        Grund, Inc.; Deposition




                                           Page 2 of 5
       Case 2:23-cv-01932-BAT       Document 91-1       Filed 03/07/25        Page 13 of 18

                                                                                    EXHIBIT 1


CURRICULUM VITAE                          BENJAMIN P. THOMAS, CPA, CFE

COURT/ ARBITRATION/ DEPOSITION TESTIMONY AND MEDIATION EXPERIENCE
(CONTINUED)

5/21    Henry H. Ketcham Lumber Company, Inc. d/b/a Cambridge Apartments, d/b/a Woodland
        Estates v. Claimco Inc.; Michael Edmunds; Atlas Consulting, LLC; Boh Ramsey; Capital
        Insurance Group; and Eagle West Insurance Company; Deposition

5/21    Donald Benton, Susan Rice, and Christopher Clifford v. Clark County; Court Testimony

7/21    David Moorehouse and Steelhead Communications, Inc. v. Jolene Moorehouse and
        Steelhead Montana LLC; Arbitration Testimony

9/21    In re: the Marriage of Katy Grannan and John McNeil; Settlement Conference

10/21 Chi Chi Beignet Inc. d/b/a Biscuits and Blues v. Saeed Khan individually and d/b/a Jack
      in the Box, Gul Food Management, Inc., Jack in the Box, Inc., Foodmaker International
      Franchising, Inc., Jack in the Box Properties, LLC, Meiyan Enterprises Inc.; Deposition

12/21 In re: the Marriage of Christine Greenberg and Clifford Greenberg; Court Testimony

2/22    In re: the Marriage of Christine Greenberg and Clifford Greenberg; Deposition

3/22    In re: the Marriage of Kristin N. Harper and Benjamin Stoner-Duncan; Arbitration
        Testimony

4/22    In re: the Marriage of Rigele Abilock and Jan Mikkelsen; Deposition

8/22    In re: the Marriage of Stacy Oster and Angela Oster; Mediation

9/22    Daesung Oh and Alan Yu v. Kenzo Sudo, Advan International Corporation; Deposition

10/22 In re: the Marriage of Kevin Calhoun and Erika Calhoun; Court Testimony

10/22 FC Leschi, LLC dba BluWater Bistro v. Hartford Fire Insurance Company; Sentinel
      Insurance Company LTD; Deposition

2/23    In re: the Marriage of W. Graham Smith and Karen McNeill; Arbitration Testimony

2/23    In re: the Marriage of Shauna K. Temple and James D. Temple; Court Testimony

3/23    Jeoung Lee and Sherri McFarland v. Evergreen Hospital Medical Center; Deposition

3/23    In re: the Marriage of Katy Grannan and John McNeil; Settlement Conference




                                          Page 3 of 5
       Case 2:23-cv-01932-BAT       Document 91-1        Filed 03/07/25     Page 14 of 18

                                                                                    EXHIBIT 1


CURRICULUM VITAE                          BENJAMIN P. THOMAS, CPA, CFE

COURT/ ARBITRATION/ DEPOSITION TESTIMONY AND MEDIATION EXPERIENCE
(CONTINUED)

5/23    In re: the Marriage of Jesse Robbins and Thuy Do; Court Testimony

6/23; Jeoung Lee and Sherri McFarland v. Evergreen Hospital Medical Center; Court
7/23 Testimony

3/23; In re: the Marriage of Christine Greenberg and Clifford Greenberg; Court Testimony
8/23

10/23 Maneto Vazquez Pina v. Lamb Weston Inc.; Deposition

10/23 Akeem Eleam and Nathaniel Hayes v. University of Washington; Deposition

10/23 In re: the Marriage of David Zager and Ailsa Marshall; Court Testimony

10/23 Jens Richter dba Global Equine Sires and A-1 Performance Sires v. Allie Helinski and
      Brent Helinski; Court Testimony

11/23 In re: the Marriage of Jeffrey Ervin and Traci Sammeth; Court Testimony

11/23 In re: the Marriage of Wendy Pabich and John Murkowski; Arbitration Testimony

11/23 Sawyer Falls Co. LLC v. Capri Investments LLC; Deposition

12/23 Sean Mesnick v. Cascade Sawing & Drilling, Inc.; Deposition

12/23 Ideal Option, PLLC v. Community Health Plan of Washington; Deposition

1/24    Sawyer Falls Co., LLC v. Capri Investments LLC; Court Testimony

6/24    In re: the Marriage of Parni Bali and Kanishk Sharan; Court Testimony

8/24    In re: the Marriage of Sabrina I. Booth and Jefferson A. Angell; Court Testimony




                                          Page 4 of 5
     Case 2:23-cv-01932-BAT        Document 91-1      Filed 03/07/25    Page 15 of 18

                                                                                EXHIBIT 1


CURRICULUM VITAE                       BENJAMIN P. THOMAS, CPA, CFE

SPEECHES / PUBLICATIONS
Venue                                Date        Subject
K&L Gates                            7/13        Accounting for Lawyers
Claims and Litigation Management     9/17        What to Expect: Construction Claims
Alliance
Clear Law Institute                  2/18        Divorce and Division of Stock Options and
                                                 Restricted Stock Units
Strafford                            4/18        Divorce Under Tax Reform: Eliminating
                                                 Support Payment Tax Benefits and Other
                                                 Changes
Strafford                      8/17, 8/18,       Divorce and Division of Stock Options and
                              12/19, 10/21       Restricted Stock Units: Identifying,
                                                 Classifying and Valuing Options and RSUs
                                                 for Equitable Distribution and/or Income
                                                 Availability
Strafford                            2/20        Double Dipping and Business Valuations in
                                                 Divorce: Navigating Equitable Distribution
                                                 and Spousal Support
University of Washington       1/21, 1/22,       Strategic Technology Transfer: Valuation
                                      1/23       of Intellectual Property
King County Bar Association         10/21        Stock Options & Restricted Stock Units:
                                                 Identifying, Classifying and Valuing
                                                 Options and RSU for Distribution and/or
                                                 Income
University of Washington             1/24        Business Valuation, Valuation of
                                                 Intellectual Property, and Economic
                                                 Damages Case Study




                                        Page 5 of 5
      Case 2:23-cv-01932-BAT            Document 91-1           Filed 03/07/25       Page 16 of 18


                                                                                         EXHIBIT 2
Documents Received and/or Reviewed and Considered

  -   Hadnagy. Nevada Complaint (00540399xC640E).PDF
  -   Plaintiffs Amended Responses to Def Con's First Set of Discovery Requests (00553698xC640E).pdf
      Plaintiffs# Responses To Defendant DEF CON Communications, Inc.'s First Set of Discovery
  -
      (00549896xC640E).pdf
  -   ContractsLost.xlsx
  -   CONFIDENTIAL-SECOM-2018-ProfitandLoss.pdf
  -   CONFIDENTIAL-SECOM-2019-ProfitandLoss.pdf
  -   CONFIDENTIAL-SECOM-2020-ProfitandLoss.pdf
  -   CONFIDENTIAL-SECOM-2021-ProfitandLoss.pdf
  -   CONFIDENTIAL-SECOM-2022-ProfitandLoss.pdf
  -   CONFIDENTIAL-SECOM-2023-ProfitandLoss.pdf
  -   CONFIDENTIAL-Hadnagy 2018 Tax Returns.pdf
  -   CONFIDENTIAL-Hadnagy 2017 Tax Returns.pdf
  -   CONFIDENTIAL-Hadnagy 2018 Schedule C.pdf
  -   CONFIDENTIAL-Hadnagy 2019 Tax Return.pdf
  -   CONFIDENTIAL-Hadnagy 2020 Tax Returns.pdf
  -   CONFIDENTIAL-Hadnagy 2021 Tax Return.pdf
  -   CONFIDENTIAL-Hadnagy 2022 Tax Returns.pdf
  -   CONFIDENTIAL-Hadnagy 2016 Tax Returns.pdf
  -   CONFIDENTIAL-2018Profit and Loss.pdf
  -   CONFIDENTIAL-2019Profit and Loss.pdf
  -   CONFIDENTIAL-2020Profit and Loss.pdf
  -   CONFIDENTIAL-2021Profit and Loss.pdf
  -   CONFIDENTIAL-2022Profit and Loss.pdf
  -   CONFIDENTIAL-2023Profit and Loss.pdf
  -   CONFIDENTIAL-SECOM - 2017 Profit and Loss by Month.pdf
  -   CONFIDENTIAL-SECOM - 2018 Profit and Loss by Month.pdf
  -   CONFIDENTIAL-SECOM - 2019 Profit and Loss by Month.pdf
  -   CONFIDENTIAL-SECOM - 2020 Profit and Loss by Month.pdf
  -   CONFIDENTIAL-SECOM - 2021 Profit and Loss by Month.pdf
  -   CONFIDENTIAL-SECOM - 2022 Profit and Loss by Month.pdf
  -   CONFIDENTIAL-SECOM - 2023 Profit and Loss by Month.pdf
  -   Info you asked for.htm
  -   Certs.htm
  -   CONFIDENTIAL-2017-W2-1.pdf
  -   CONFIDENTIAL-2018-W2-1.pdf
  -   CONFIDENTIAL-2019-W2-1.pdf
  -   CONFIDENTIAL-2020-W2-1.pdf
  -   CONFIDENTIAL-2021-W2-1.pdf
  -   CONFIDENTIAL-2022-W2-1.pdf
  -   CONFIDENTIAL-2023-W2-1.pdf
  -   CONFIDENTIAL-SECOM Employees (08052024-050503).xlsx




                                            Page 1 of 1
                             Case 2:23-cv-01932-BAT     Document 91-1      Filed 03/07/25     Page 17 of 18

Hadnagy and Social-Engineer v. Moss and Def Con                                                                  Schedule 1
Economic Damages Analysis
Summary of the Hadnagys' Personal Tax Returns


                                                                    Historical Income Per Tax Returns
                                          2017           2018            2019              2020           2021   2022
                                                      - Missing -
   Salaries & Wages
    University of Arizona             $
    Social Engineer LLC
   Total Salaries & Wages             $


   Business Income (Loss)
    Social-Engineer, LLC
    SEVillage LLC
   Total Business Income (Loss)       $

   Supplemental Income (Loss)
    Royalties
   Total Supplemental Income (Loss)   $


   Other Income & Expenses
    Capital Gain (Loss)
    Interest
    Dividends
    Miscellaneous

   Total Income                       $


   Income From Social-Engineer        $
                                                                 Case 2:23-cv-01932-BAT          Document 91-1     Filed 03/07/25   Page 18 of 18



Hadnagy and Social-Engineer v. Moss and Def Con                                                                                                                                                              Schedule 2
Economic Damages Analysis
Social-Engineer Internal Income Statements


                                                                           Historical                                                                           Historical (Common Size)
                                   Dec 31, 2018   Dec 31, 2019   Dec 31, 2020     Dec 31, 2021   Dec 31, 2022    Dec 31, 2023   Dec 31, 2018   Dec 31, 2019   Dec 31, 2020     Dec 31, 2021   Dec 31, 2022   Dec 31, 2023
